Case 19-42853 Doci1 Filed 10/21/19 Entered 10/21/19 13:20:01

Fill in this information to identify the case:

 

United States Bankruptcy Court for the:

Ache -w

Case number (ifknown):

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Voluntary Petition for Non-Individuals Filing for Bankruptcy

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ChE; PM fe]
Mus 1Q check if this is an

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one,

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TSR

04/19

lf more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s namo and the case
number {if known). For more Information, a separate document, instructions for Bankruptcy Forms for Non-individuals, is available.

1. Debtor's name

2. Ail other names debtor used
in the last 8 years

Include any assumed names,
trade names, and dojng business
as names

\j Radi wade a Fuwd Lit
VY

 

 

 

 

 

 

3. Debtor's federal Employer
Identification Number (E/N)

 

 

4, Debtor's address

Principal place of business

DROSK Cretsal\ Leve

Maillng address, if different from princlpat place
of business

 

 

 

 

 

Number Street Number Street

P.O. Box
— a a

Mk \y Nara ~ IS oD

City State ZIP Code City State ZIP Code
Location of principal assets, if different from
principal place of business

Ce \ JM
County

 

Number Street

 

 

City State ZIP Code

 

5. Debtor's website (URL)

 

 

6 Type of debtor

Q Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))

Sf Partnership (excluding LLP)
LJ other. Specify:

 

 

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Debtor

Case number (fF known),

 

Name

 

7. Describe debtor's business

A. Check one:

() Health Care Business (as defined in 11 U.S.C. § 101(27A))
(J Singte Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
L] Railroad (as defined in 11 U.S.C. § 101({44))

Q] Stockbroker (as defined in 11 U.S.C. § 101(53A))

Q Commodity Broker (as defined in 11 U.S.C. § 101(6))

Q] Clearing Bank (as defined in 11 U.S.C, § 781(3))

Q) None of the above

B, Check ail that apply:

Ql] Tax-exempt entity (as described in 26 U.S.C. § 501)

O) investment company, inctuding hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
§ 80a-3)}

CL) Investment advisor (as defined in 15 U.S.C. § 80b-2(a}(11}}

C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
bttp7/Awww. uscourts.gov/four-digit-nalional-assoclation-naics-codes .

 

8. Under which chapter of the
Bankruptcy Code is the
debtor filing?

Check one:

L) Chapter 7

CIT ee nm

y Chapter 11. Check ail that apply:

Debtor’s aggregate noneentingent liquidated debts (excluding debts owed ta
insiders or affiliates) are less than $2,725,625 (amount subject to adjustment on
4/01/22 and every 3 years after that).

CJ The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D)}. If the
debtor is a small business debtor, attach the most recent balance sheet, statement
of operations, cash-flow statement, and federal income tax return or if all of these
documents do not exist, follow the procedure in 11 U,S.¢. § 1116(1}(B).

Oa plan is being filed with this petition.

Q Acceptances of the plan were solicited prepetition from one or more classes of
creditors, in accordance with 11 U.S.C, § 1126(b),

(J The debtor is required to file periodic reports (for example, 10K and 10Q) with the
Securities and Exchange Commission according to § 13 or 15(d) of the Securities
Exchange Act of 1934. File the Aifachment to Vofuntary Petition for Non-indfviduats Filing
for Bankruptcy under Chapter 71 (Official Form 201A) with this form.

L) The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule

 

 

 

 

 

12b-2.
L) Chapter 12
9. Were prior bankruptcy cases () No
filed by or against the debtor
within the last 8 years? Q) Yes. District When Case number
MM/ DD/YYYY
lf more than 2 cases, atlacha .
separate list. District When Casa number
MM/ DO/YYYY
40. Are any bankruptcy cases QI No
pending or being filed by a
business partner or an Ql Yes. Debtor Relationship
affiliate of the debtor? District When

List all cases. If more than 1,
attach a separate list.

 

MM / DD f¥¥YY
Case number, if known

 

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Debtor

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Case number (known),

 

Name

 

41, Why is the case filed in this
district?

12. Does the debtor own or have
possession of any real
property or personal property
that needs immediate
attention?

Check aif that apply:

Y Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
immediately preceding the date of this petition or for a longer part of such 180 days than in any other
district.

LJ A bankruptcy case concerning debtor's affiliate, general partner, or partnership Is pending in this district.

SI No

L] Yes. Answer below for each property that needs immediate attention. Attach additional sheets If needed.

Why does the property need immediate attention? (Check aif that apply.)

C1 It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety,

What Is the hazard?

 

L) It needs to be physically secured or protected from the weather.

CO) it inetuces perishable goods or assets that could quickly deteriorate or jose value without
attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
assets or ather options).

(J cther

 

Where Is the property?

 

Number

 

 

City , State ZIP Code

Is the property insured?
O No

L) Yes. Insurance agency

 

Contact name

 

Phone

 

po Statistical and administrative information

13, Debtor's estimation of
available funds

Check one:

wl Funds will be available for distribution to Unsecured creditors.

(J After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors,

 

14. Estimated number of

iva] 1-49

QJ 1,000-5,000

CJ 25.001-50,000

 

creditors L) 50-99 C) §,001-10,000 LI 50,001-100,000
L) 100-199 T} 40,001-25,000 LJ More than 190,000
C1 200-999
C) $0-$50,000 ‘tA. $1,000,001-$10 million C1) $500,000,001-$1 billion

16. Estimated assets

C1 $50,001-$100,000
LJ $100,001-$500,000
L) $500,001-$1 million

CL) $10,000,001-$50 million
L¥ $50,000,001-$100 million
LY $100,000,001-$500 million

QC) $1,000,600,001-$10 billion
L) $10,000,000,001-350 billion
L] More than $50 billion

 

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Debtor Case number (if known)
Name
; — QC) $0-$50,000 GF $1,000,001-$10 million CJ $500,000,001-$1 billion
16, Estimated liabilities Q) §50,001-$100,000 Q $10,000,001-$50 million C1 $1,000,000,001-$40 billion
LJ $100,001-$500,000 LJ $50,000,001-$100 million U) $10,000,000,001-350 billion
oO $500,001-$1 million ) $100,000,001-$500 million QO) More than $50 billion

 

| for Rellef, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection wilh a bankruptey case can result in fines up to
$500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature of
authorized representative of petition
debtor ‘

= =6The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this

m | have been authorized to file this petition on behalf of the debtor.

= | have examined the information in this petition and have a reasonable belief that the inforrnation is true and
correct.

1 declare under penalty of perjury that the foregoing is true and correct.

 

Zanes Bresnahay

Sighalure of authorized representative of debtor Printed name

Title Ma wrararg Mathes 4 [poeted Cdk

f2.

16. Signature of attorney x

 

2 waa Date EMEL)
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